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                             UNITED STATES DISTRICT COURT                             2020 DEC - / Mi IO: 52
                            SOUTHERN DISTRICT OF NEW YORK




                                                                         No. _ _ _ _ _ __
 Write the full name of each plaintiff.                                (To be filled out by Clerk's Office)




                                                                            COMPLAINT
                                                                                 (Prisoner)

                                                                          Do youw.✓.-jury trial?
                                                                               ~ • No


A D.v~.               Cartee__
Write the full name of e_ach defendant. If you cann.ot fit.the
names of all of the defendants in the space provided, please
write "see attached" in the space above and attach an
additional sheet of pa_per With the full list of names. The
names listed above must be identical to those contained in
Section IV.




                                               NOTICE

   The public can access electronic court files. For privacy and security reasons, papers filed
   with the court should therefore not contain: an individual's full social security number or full
   birth date; the full name of a person known to be a minor; or a complete financi~I account
   number. A filing may include only: the last four digits of a social security number; the year of
   an individual's birth; a minor's initials; and the last four digits ofa financial account number.
   See Federal Rule of.Civil Procedure 5.2.




Rev. 5/6/16
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  I.        LEGAL BASIS FOR CLAIM
  State below the federal legal basis for your claim, if known. This form is designed primarily for
  prisoners challenging the constitutionality of their conditions of confinement; those claims are
  often brought under 42 U.S.C. § 1983 (against state, county, or municipal defendants) or in a
   "Bivys" action (against federal defendant_s).
   c('Violation of my federal constitutional rights
   [3"' Other:
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   II.      PLAINTIFF INFORMATION
   Each plaintiff must provide the following information. Attach additional pages if necessary.


"72 °' V'\d '--[                                                    Sw , J--.J :::, a v'\
   First Name          ·            Middle Initial                       -Last Name



   State any other names (or different forms of your name) you have ever used, including any name
   you have used in previously filing a lawsuit.

         3l{C\-            \9·0?:/-(D5
   Prisoner ID# (if you have previously been in another agency's custody, please specify each agency
   and the ID number (such as your DIN or NYSID) under which you were held)

       G.k- ✓,c~                                                                        ·
   Current Place of Detention

   oC\-o~ 1-loze,J                                                                                 Z__A)
    Institutional Address

                                                                                      113'1-G
                                                                 State                  Zip Code
    County, City

   Ill.      PRISONER STATUS
    Indicate below whether you are a prisoner or other confined person:

    ri€trial detainee
    D     Civilly committed detainee
    D     Immigration detainee
    D     Convicted and sentenced prisoner
       ITOther             ~_:_:_k¼ () \ e
                                 _ ____:::.....:.=-~--------~---




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IV.    DEFENDANT INFORMATION
To the best of your ability, provide the following information for each defendant. If the correct
information is not provided, it _could delay or prevent service of the complaint on the defendant.
Make sure that the defendants listed below are identical to those listed in the caption. Attach
additional pages as necessary.              '\ l                              1\

Defendant 1: ·
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                   First Name         Last Name       11       Shie/p II_ .
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                 · County, City             -             '\I      State            1)        Zip Code

Defendant.2:       0E'C\.9-'4"; +'-[ \/~Clrden
                    First Name .                       Last Name
                                                                Sv,e Q.J\j  . ·          Shield II

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                    Current Job.Title (brother id·; ntifying informa?-'\n)
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                    ~-cnt·Work Address
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                    County, City                                   State                      Zip Code

Defendant 3:         ADW                               Ca,teR_
                    First Name                         Last Name                         Shield II
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                    Current Job Title (or other i entifying information)                             J   •

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                    C~urty, City                                   State                      Zip Code

Defendant 4:          tLcr~ e (
                     First Name
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                                                       Last Name · -~                     Shield II
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                     Current Job Title (or other identifying information)
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                     Current Work ~ress            ·
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                                                                                              Zip Code
                     <;ounty, City                                  State
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   V.      ST A TEMENT OF CLAIM

   Place(s)ofoccurrence~     1-(()USiv,JUlf\lt 2~~1 GQ.V.C. ,G9-0>CJ Hocen                                St
   Date(s) of occurrence:    ! // L.I (d,C\'.)\')    +0   DQ t~     c_ LI."'""'" t. L'-(
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 · FACTS:
   State her_e briefly the FACTS that support your case. Describe what happened, how you were
   harmed, and how each defendant was personally involved in the alleged wrongful actions. Attach
   a_dditional pages as necessary.            ,l                            .                      ·
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  V.         STATEMENT OF CLAIM

  Place(s) of occurrence:


  Date(s) of occurrence:

  FACTS:

  State here briefly the FACTS that support your case. Describe whathappened, how you were
  harmed, and how each defendant was personaliy involved in the aUeged wrongful actions. Attach
  additional pages as necessary.

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      INJURIES:                                                                                                                                u         ·
      If you were injured as a result of these actions, describe yciur injuries and what medical treatment,
      if any, you required ahd received.
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      VI.        RELIEF

      State briefly what money damages or other relief you want the court to order.

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VII.    PLAINTIFF'S CERTIFICATION AND WARNINGS
By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint fs not being presented for an improper purpose (such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation); (2) the claims are supported by existing law
or by a nonfrivolous argument to change existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and (4) the complaint othe.rwise
complies with the requirements of Federal Rule of Civil Procedure 11.

I understand that if I file three or more c·ases while I am a prisoner that are dismissed as
frivolous, malicious, or for failure to state a claim, I may be denied in fotma pauperis status in
future cases.

I also understand that prisoners must exhaust administrative procedures before filing an action
in federal court about prison conditions, 42 U.S.C. § 1997e(a), and that my case may be
dismissed if I have not exhausted administrative remedies as required.

[ agree to provide the Clerk's Office with any changes to my address. I understand that my
failure to keep a current address on file with the Clerk's Office may result in the dismissal of my
case.




First Name             / ·/      Middle Initial           Last Name
  0     9- 09          r      az_e'(\        6treet
Pris~ddress
 . 16a.ON '/J                                                               ' \ 7)]:-0
County, City                                      State                      Zip Code



Date on which I am delivering this complaint to prison authoritiesfor mailing:




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